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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :
                                               :
          v.                                   :      Crim. No. 99-505-01
                                               :
AXEL SANTOS CRUZ                               :

                                         ORDER

       AND NOW, this 12th day of March, 2019, upon consideration of Defendant’s Motion to

Appoint Counsel in Connection with Section 404 of the First Step Act (Doc. No. 221), and Chief

Judge Juan Sanchez’s February 4, 2019 Administrative Order, In re: Motions for Sentencing

Reduction Under Section 404 of the First Step Act (attached as Exhibit A), it is hereby ORDERED

that Defendant’s Motion (Doc. No. 221) is STAYED in accordance with Chief Judge Sanchez’s

Administrative Order.

                                                                 AND IT IS SO ORDERED.

                                                                 /s/ Paul S. Diamond
                                                                 ________________________
                                                                 Paul S. Diamond, J.
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,:.




                      IN THE UNITED STATES DISTRICT COURT
                  :FOR THE EASTERN DISTRICT OF PENNSYLVANIA

            INRE:         Motions for Sentencing Reduction Under Section 404
                          of the First Step Act


                                 ADMINISTRATIVE ORDER

             1)     Section 404 of the First Step Act, enacted December 21, 2018,

      applies to "a violation of a Federal criminal statute, the statutory penalties for

      which were modified by section 2 or 3 of the Fair Sentencing Act of 2010 (Public

      Law 111-220; 124 Stat. 2372), that was committed before August 3, 2010," and

      provides that the court may "impose a reduced sentence as if sections 2 and 3 of

      the Fair Sentencing Act of 2010 ... were in effect at the time the covered offense

      was committed."

             2)     Many motions have been filed to date seeking relief under Section

      404, and it is anticipated that that scores and possibly hundreds additional such

      motions will be filed in this district.

            3)     A committee consisting of representatives of the United States

      Attorney's Office, the Federal Defenders Association, and the Probation Office

      ("the committee") will expeditiously review the files of all defendants who may be

      eligible for relief under Section 404, in order to assess eligibility. This review

      requires a detailed assessment of conviction records and prison records in each

      case. If the parties determine that a defendant is eligible for a sentence reduction,
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and agree that a reduction is appropriate, the parties will submit a proposed

order to this effect.
       4)     In order to allow the committee sufficient time to conduct the review

process and identify and prioritize the eligible defendants, and to avoid

 unnecessary litigation and waste judicial resources, all motions seeking relief

 under Section 4040 will be stayed pending completion of the review process and

 identification of the eligible defendants. The government shall then address the

 outstanding motions of defendants in an orderly fashion.
                                                                     is hereby ORDERED
        Accordingly, on this_i_~y of                            ,1
 that all motions for sentence reductions under ection 404 of the First Step Act in

 the United States District Court for the Eastern District of Pennsylvania are

 hereby STAYED for a period of ninety (90) days from the date of this Order, to

  permit the committee to complete the review process and notify the judges of this

  Court of the eligibility status of all affected defendants.

                                          BY THE COURT:



                                                                        CHEZ
                                                         :lN:u.:in:es   District Court
